 

Case 5:0

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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

FILED

 

 

 

ALVARO LARIOS, §
PETITIONER/DEFENDANT, §
§
; CRIM, KO. $A-06-CR~137 (01)- YR
versus,
UNITED STATES OF AMERICA, — g A08 “ CV 0) 9 90
RESPONDENT. _
SUCCESSIVE MOTION PURSUANT TO 28 U.S.C. §2255
Now into this Honorable Court comes Alvaro Larios, self-made petitioner,

by way of propi
grant relief pu
to allow. the is
JURISDICTION’: -

Pursuant t

in section 2244)

(1) Newly disco
as a whole,
that no rea

or

» (2) a new rule

by the Supr

Petitioner]

H persona representation and respectfully moves this court to
rsuant to this second §2255 motion or Certify Appealability rights

sue in this motion to be reviewed by a higher court.

b §2255 a second or successive motion bust be certified as provided
by a panel of the appropriate court of appeals to contain-

yered evidence that, if proven and viewed in light of the evidence.
would be sufficient to establish by clear and convincing evidence

bonable factfinder would have found the movant guilty of the offense:

bf constitutional: law, made retroactive to cases on collateral review
pme Court, that was previously unavailable.

relies on the latter.

APPLICABLE AUTHORITY

’ WATSON v. UNITE

D STATES (DECEMBER 10,2007) 169 L. ED 2d 472

 

 

 
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STATEMENT OF THE FACTS

_-On March 1, 2006 Defendant Alvaro Larios was arrested after having acquired

15 hand grenades from an undercover. agent. The agent had requested payment in the

for of cocaine

‘for the-hand grenades.

Petitioner was arrested and a complaint alleged Possession of a destructive

device which ig not registered to him in the National Firearms Registration and

Transfer Record, in violation of 26 USC 5861(d).

On May 3

to the charges

2006 Defendant. Larios was indicted in a superseding indictment

of Count One: Possession of a Destructive Device not registered

to him in the National Firearms Registration and Transfer Record, in Violation

of Title 26, U
count Two
§841(a) (1) & §
Count Thr

to a drug traf
And Count

the United Sta
Defendant
destructive de
of §924(c) (1).
Defendant

was denied on

S.C. §$5841, 5861, and $5871.

Distribution of a controlled substance in violation of 21 U.S.C.
B41 (b) (1) (C)«

pe Use and Possesion of a destructive device during and in relation
Ficking crime in violation of 18 1.536. §924(c) (1).

Four: Possession of a destructive device by an alien illegally in
Les in violation of 18 U.S.C. §922(g)(5) (A).

Larios plead guilty to the charge of "USE and Possession of a

vice during and in relation to a drug trafficking crime in violation

did not file a direct appeal...but did file a frivolous §2255 which

January 3,2008,

Petitioner now files for permission to file a second §2255 motion due to an

intervening ch

ange of law which makes his offense not criminal.

 

 

 

 

 
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ARGUMENT
Defendant Larios asserts that his §2255 (Filed Pro-se) had been denied by

the time that the text for the opinion of Watson v. United States (December 10,

2007) 169 Ls Ed 2d 472 was made available in the institution that he was housed.
Petitioner asserts that the manner and means of his conviction call into

question the legality of his conviction and subsequent detention in a federal prison.

 

Larios asserts that in the days and months prior to the March lst, 2006 trans
action this defendant had negotiated for the purchase of some AK~47 rifles with
the special agent. On one occasion this defendant met with the agent to finalize
a transaction.|The transaction was for three AK-47 rifles for $1,500. The exchange
did not. take p ace because a third party never showed up and the deal was postponed.

On February 28,2006 agent Hernandez agreed to provide 15 hand grenades to
the defendant n exchange for two ounces of cocaine. That was the first time that
defendant Larios was faced with a request for drugs in. exchange for the weapons.

After his arrest defendant Larios was informed by his attorney that he would
have to plead guilty to Use of a destructive device in relation to a drug trafficking
crime...and th t the sentence would be a minimum of 30 years, but if Larios would
proceed to trial he would get a life sentence. Larios has no criminal history.

Larios plead guilty and received a 25 year sentenced on December 8, 2006 and
three years supervised release.

Defendant |Larios. was sent to Three Rivers F,C.1. to serve his sentence. During
his stay in Three Rivers Larios filed a frivolous 2255 with the assistance of an
inmate. His §2255 motion was dismissed on January 3,2008. Defendant Larios was
transferred to|his current place of confinement in Texarkana F.C.1. where he found
that a new Supreme Court case had come out that calls into question his conviction,

Defendant|Larios made several attempts to purchase the transcripts of his
guilty plea and'sentencing but to no avail. Larios's wife went to the courthouse

in San Antonio|to try and make said arrangement but: she was given some papers that

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a Supreme Cour
was decided in
bring this app
transcripts du

documents.

 

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he record but not the transcripts. The timeline for a claim of

t case that should be brought within one year of the date the case
the Supreme Court, therefore; defendant Larios has proceeded to
eal without reviewing the sentencing transcripts or any other

p to the difficulties encountered in attempting to obtain these

The Supreme Court precedent that empowers this Honorable Court panel to

grnat me permission to proceed with a second §2255 motion is Watson v. United

appealed to th
Just as. i
offense, just

in relation to

69 L. Ed 2d 472, a case that came out of this same Circuit to be

p Supreme Court and granted relief on December 10,2007.

h Watson, this petitioner plead guilty, but not to a drug trafficking
ro the 924(c)(1) offense of Use of a destructive device during and

a drug trafficking crime.

The Watson Court.ruled that a narcotic for firearm trade does not constitute

use of the firearm. This petitioner states the same and claims that the Supreme

 

Court ruling i

Watson places his conduct in a category of non-existent crimes.

The saving clause of §2255 applies to a claim when: (1) that claim is based

upon a retroactively applicable Supreme Court decision; 20 the holding of that

existent offen

Supreme Court decision establishes that the prisoner was convicted of a non=

e; and (3) circuit law squarely foreclosed such a claim at the time

it otherwise T have been raised in the petitioner's trial, appeal, or first

§2255 motion.
Petitione)

method to have

his COA may we]

law and has soy

Petitioner

to cases on co]

offord v. Scott, 177 F3d 1236 (llth Cir 1999).

tf was intent on filing a §2241 motion using the saving clause as a
his issue entertained but believes that the issue being brought in
}. be the proper avenue, Petitioner is not learned in the field of
leht assistance from a fellow inmate to bring this claim.

understands that the decision in Watson is retroactively applicable

jlateral review due to the fact that that scenario has already been

abe

 

 

 

 

 

 

 

 
ase

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been structured in Rougleyv. United States, 140 L,Ed 2d 842, where the Supreme

Court stated,

once the Court

Wit is this Court's responsibility to say what a statute means, and

has spoken, it is the duty of the other courts to respect that

understanding. of the governing rule of law. A judicial construction of a statute

‘is an authoritative statement of what the statute meant before as well as after

the decision of the cse giving rise to the construction." Rivers v. Roadway Exp-

‘ress Inc., 511
"Thug. in

lawyer, and by

U.S. 298, 312-313, 128 L.Ed 2d 274, 114 §.Ct. 1510 (1994)."
1990 when petitioner was advised by the trial judge, by his own

the prosecutor that mere possession of a firearm would support a

‘conviction under 924(c), he received critically incorrect legal advice. The fact

‘that all his advisers acted in. good-faith reliance on existing precedent does not

mitigate the impact of that erroneous advise. Its consequences for the petitioner

‘were just as severe, and just as unfair, as if the court and counsel had knowing-

ly conspired t

b deceive him in order to induce him to plead guilty to a crime that

he did-not compit. Our cases make it perfectly clear that a guilty plea based on |

.guch misinformation is constitutionally deficient. Smith v. O'Grady, 312 U.S. 329,

(334, 85 L.Ed 2
645, 49 L. Ed
ment on the §9
There can be n

complete misca

i 859, 61 S. Ct. 572 (1941); Henderson v. Morgan, 426 U.S. 637, 644~
Pd 108, 96 S.Ct. 2253 (1976). Petitioner's conviction and punish~
D4(c) charge “are for an act that the law does not make criminal,"

bh room for doubt that such a circumstance ‘inherently results in a

rriage of justice' and 'present[s] exceptional circumstances' that

justify collateral relief under §2255 [28 U.S.C. §2255]" Davis v. United States

417 U.S. 333,
in Bougley v.
Petitione
weapons trade
weapons acquis

to get paid in

United States 140 L. Ed 2d 842.

r/Defendant Larios asserts that his crime consisted of a drug for

bs in Watson and the true crime behind the scene was actually a

ition charge until the government agent decided that he would like

"drugs" as opposed to cash. A very clear "charge manipulation"

  

 

B46-347, 41 L.Ed 2d 109, 94 S.Ct. 2298 (1974)." Jackson J. Concurring

 

 

 

 
 

Case 5:(

act by the Gove

- Defendant |

his conviction |

crime that he s
innocent man si
that has been d

Defendant -

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rnment agent,

Larios stands upon his right to make an effective challenge to
based on the Supreme Court ruling in Watson and show that the
Lands convicted and sentenced to is non-existent crime and an

ts in federal prison with a twenty-five year sentence for conduct
pcided to not be criminal.

Larios respectfully moves this Honorable Court to grant the

relief herein..which amounts to release due to his conduct not being criminal.

In the alternat
be heard by the

Defendant

ive I respectfully request certification to allow my argument to
Fifth Circuit!

Larios respectfully remains...

Respectfully Submitted,

AlvGge hacreS
Alvaro Larios

U.S.M. No. 67226-180
Post Office Box 7000
Texarkana, Texas 75505

 

CERTIFICATE OF
. I Alvaro Larios hereby certify that a true and correct copy of this fore-

- going legal ins

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Date

trument has been mailed to opposing counsel.

-Wlv@c¢ dGe°es
Alvaro Larios

 

 

 
 

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